Case 8:17-cv-01812-MSS-AEP Document 10 Filed 09/12/17 Page 1 of 2 PageID 39



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

JASON A. GAZA,                                     )
                                                   )
                               Plaintiff,          )
v.                                                 )
                                                   )
WESTAR ENERGY, INC.,                               )
                                                   )
                               Defendant.          )
                                                   ) Civil Action No. 8:17-cv-1812-MSS-AEP


                          NOTICE OF SETTLEMENT OF CLAIMS

       Pursuant to Middle District of Florida Local Rule 3.08, Defendant Westar Energy, Inc.,

with the consent of Plaintiff Jason Gaza, notifies the Court that the parties have reached an

agreement resolving this case in its entirety, with prejudice. The parties will file a Stipulation of

Voluntary Dismissal with Prejudice as soon as is practicable.

                                            Respectfully Submitted,


                                                    By: /s/ Kelly H. Foos
                                                    Kelly H. Foos, Florida Bar #95959
                                                    STEVENS & BRAND, LLP
                                                    P.O. Box 189
                                                    Lawrence, KS 66044
                                                    Phone: (785) 843-0811
                                                    Fax: (785) 843-0341
                                                    E-mail: kfoos@stevensbrand.com
                                                    Attorney for Defendant Westar Energy, Inc.
Case 8:17-cv-01812-MSS-AEP Document 10 Filed 09/12/17 Page 2 of 2 PageID 40



                               CERTIFICATE OF SERVICE


        I hereby certify that on September 12, 2017, I caused to be served by electronic mail, a
true and correct copy of the above and foregoing to:

       Jason A. Gaza
       11628 Pilot Country Drive
       Spring Hill, Florida 34610
       gizmosdaddy.gaza@gmail.com
       Plaintiff (Pro Se)
                                                           /


                                                   s/ Kelly H. Foos




                                               2
